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                              UNITED STATES DISTRICT COURT

                              EASTERN DISTRICT OF LOUISIANA


COURTNEY ROCK AND BRIAN VAN                           CIVIL ACTION NO.: 2:20-cv-00940
EYCKE

VERSUS                                                SECTION: JUDGE GREG GERARD GUIDRY (T)

TRACI BROWN, ELAINE DUSKIN, GEICO
CASUALTY COMPANY, ABC INSURANCE                       MAGISTRATE JOSEPH C. WILKINSON, JR.
COMPANY, ARTHUR CLAYTON,
PROGRESSIVE CASUALTY INSURANCE
COMPANY, LYFT, INC., AND INDIAN
HARBOR INSURANCE COMPANY



                        CONSENT TO REMOVAL BY TRACI BROWN

        Pursuant to 28 U.S.C. Sec.1446(b)(2), Defendant Traci Brown, through undersigned

 counsel, hereby consents to the Notice of Removal filed by Defendant Indian Harbor Insurance

 Company and to the removal of this case from the Civil District Court for the Parish of Orleans

 to the United States District Court for the Eastern District of Louisiana.

                                               Respectfully submitted,

                                                /s/ Donald J. Latuso, Jr.
                                               Donald J. Latuso, Jr., #31495
                                               3510 N. Causeway Blvd., Suite 608
                                               Metairie, LA 70002
                                               504-831-4510x5280
                                               1-855-752-0023 (fax)
                                               dlatuso@geico.com
                                               Attorney for Traci Brown
